Case 7:21-cv-00247   Document 1-2   Filed on 06/21/21 in TXSD   Page 1 of 17




     Exhibit “A”
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                                                                                  Hidalgo County District Clerks
                                                                                  Reviewed By: Armando Cantu

                                                  C-1977-21-E
                                  CAUSE NO.:
 FILIBERTO J. GARZA MORENO                        §      IN THE      JUDICIAL DISTRICT
                                                  §
                                                  §
                                                  §
VS.                                               §      COURT OF
                                                  §
ALLEGIANT TRAVEL COMPANY,                         §
ALLEGIANT AIR LLC, AND AIRPORT                    §
TERMINAL SERVICES INC.                            §      HIDALGO COUNTY, TEXAS

                                PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:
       NOW COMES FILIBERTO               J.   GARZA MORENO, hereinafter referred to as
Plaintiff, and files this his original Petition against    ALLEGIANT TRAVEL COMPANY,

ALLEGIANT AIR LLC, and AIRPORT TERMINAL SERVICES INC, hereinafter referred

to as Defendants, and for cause of action will show the Court the following:


                    DISCOVERY CONTROL PLAN — BY RULE (LEVEL 3)

       1. Plaintiff intends to   conduct discovery under Level 3 as provided by Rule 190 Of

the Texas Rules 0f Civil Procedure.


                                      CLAIM FOR RELIEF
       2.   Plaintiff   is   seeking monetary   relief   from Defendants   in   the   amount    of


$10,000,000.00.


                                              PARTIES

      3. Plaintiff Filiberto I. Garza   Moreno is an individual who resides in Brownsville,

Cameron County, Texas.

      4.    Defendant Allegiant Travel Company (Allegiant) is a company that does

business in McAllen, Hidalgo County, Texas as Allegiant Air (Airline). Defendant

Allegiant Travel Company may be served with process by serving its registered agent,
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                                                                                    Reviewed By: Armando Cantu
                                              C-1977-21-E

 Corporation Service Company d/b/ a CSC—Lawyer Incorporating Service Company, at

 211 East 7th Street, Suite 620, Austin, Texas 78701—3218.

           5. Defendant Allegiant Air     LLC (Allegiant) is a limited liability company that does

 business in McAllen, Hidalgo County, Texas as Allegiant Air (Airline). Defendant

 Allegiant Air       LLC may be served with process by serving its registered agent,

 Corporation Service Company d/b/ a CSC-Lawyer Incorporating Service Company, at

211 East 7th Street, Suite 620, Austin, Texas 78701-3218.

          6.   Defendant Airport Terminal Services Inc. (ATSI) is a corporation that does in

MCAllen, Hidalgo County, Texas, as an airline service company. Defendant Airport

Terminal Services Inc. may be served with process by serving its registered agent, CT

Corporation System, at 1999 Bryan St, Ste 900, Dallas, Texas 75201—3136.

                                   VENUE AND IURISDICTION
          7.   The incident described herein-below or events giving rise to Plaintiff’s Claim

against Defendant arose in McAllen, Hidalgo County, Texas. Venue for this cause of

action therefore lies in Hidalgo County, Texas.


          8.   The damages      that   Plaintiff   is   seeking from Defendant are within the

jurisdictional limits of the Court. This Court therefore has jurisdiction for this cause of


action.


                                                   LCTS
          9.   On 0r about June 3, 2019, Plaintiff purchased an airline ticket from Allegiant to

fly from McAllen Texas t0 Las Vegas Nevada on June 13, 2019. Plaintiff is a quadriplegic


and disabled. Plaintiff made Allegiant aware 0f his disability and the need for assistance

with boarding the airplane when he purchased the ticket online through Allegiant’s

website. Allegiant assured Plaintiff that it would provide Plaintiff with assistance in


safely boarding the airplane at the McAllen airport before the airplane flew to Las Vegas.
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 While boarding the airplane, two men who were working for Defendants attempted to

 transfer Plaintiff from an aisle Wheelchair to a seat on the airplane. The seat had armrests


 that were made of steel or metal and did not move up and down. The men placed a


bedsheet underneath Plaintiff while he sat on the wheelchair and lifted Plaintiff from the

wheelchair by grabbing and lifting the sheet with Plaintiff being positioned in the sheet.

One of the men let go of the sheet, causing Plaintiff to fall and land on an armrest of the

seat. Plaintiff’s buttocks and right hip hit the armrest, causing his right hip to dislocate.


After the men dropped Plaintiff, they told Plaintiff they had never transferred a person

Who was a quadriplegic from an aisle wheelchair to a seat on an airplane. The men had

been loading luggage onto the airplane or working on the tarmac 0r apron before they

attempted to lift Plaintiff from the wheelchair and dropped him 0n the armrest. The men

were not educated, trained, or experienced in assisting a quadriplegic with boarding an

airplane and safely placing him in a seat. Plaintiff was 5 feet, 11 inches tall and weighed

approximately 220 pounds. Defendants should have used a lift and transfer hoist to

transfer Plaintiff from the aisle wheelchair to a seat on the airplane, but failed to do so.


       10. At the time of the incident, Plaintiff was 37 years of age. Plaintiff is a diabetic.


His dislocated hip is inoperable due to the probability 0f his hip not staying in place after

surgery and his surgical wounds not healing. As a result of Plaintiff’s right hip being

dislocated, his body is deformed. His right hip, leg and foot are positioned several inches


higher than his left hip, leg, and foot. His body has shifted and is crooked, uneven, and

unbalanced. As a result, Plaintiff has developed several large, stage-4, pressure ulcers on

his buttocks, hips,   and   legs   which have caused him to      suffer additional physical


deformities to these parts of body. The ulcers developed a few days after the incident

occurred, and still have not healed, two years after the incident. Before the Covid-19

Pandemic began, Plaintiff spent 4 months in a hospital and nursing home receiving
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medical treatment and wound care for his ulcers. He now receives medical treatment and

wound care for the ulcers at his home. The ulcers and dislocated hip cause Plaintiff to

sweat all day long, and he suffers from headaches daily. Plaintiff is constantly dehydrated

and is forced t0 drink an excessive amount of water and other fluids.

              CAUSE OF ACTION BASED ON NEGLIGENCE-HIGH DEGREE
              OF CARE OF A COMMON CARRIER AND PROXIMATE CAUSE

       11. At the time that is material to the incident described herein—above, Defendants


were performing services as a common carrier. Defendants had a responsibility to

perform these services with a high degree care but failed to do so. Defendants committed

the following acts and / or omissions:

          A. In failing to educate and train their employees, contractors, and/ or agents
             regarding how to properly and safely transfer a person who is a
             quadriplegic from an aisle wheelchair to a seat on an airplane, as a very
             cautious, competent, and prudent person would have done under the same
             or similar circumstances,

          B.   In failing t0 have educated, trained, qualified, and experienced employees,
               contractors, and/ or agents available at the airport to properly and safely
               transfer Plaintiff, a quadriplegic, from an aisle wheelchair to a seat on the
               airplane, as a very cautious, competent, and prudent person would have
               done under the same or similar circumstances,

          C. In failing to have enough, more than 2, educated, trained, qualified, and
               experienced employees, contractors, and / or agents available at the airport
               t0 properly and safely transfer Plaintiff, a quadriplegic, from an aisle
               wheelchair t0 a seat on the airplane, as a very cautious, competent, and
               prudent person would have done under the same or similar Circumstances,

         D. In their employees, contractors, and/or agents using their hands and a
            bedsheet to transfer Plaintiff from the aisle wheelchair t0 a seat on the
            airplane, as a very cautious, competent, and prudent person would not
            have done under the same or similar circumstances,

         E.    In failing to use a lift and transfer hoist to transfer Plaintiff from the aisle
               wheelchair to a seat on the airplane, as a very cautious, competent, and
               prudent person would have done under the same or similar Circumstances,

         F.    In failing to provide Plaintiff with a seat on the airplane that had armrests
               that moved up and down, as a very cautious, competent, and prudent
               person would have done under the same or similar circumstances,
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              G. In transferring Plaintiff over a metal armrest of a seat on the airplane that
                 did not move up and down, as a very cautious, competent, and prudent
                 person would not have done under the same or similar Circumstances,

              H. In dropping Plaintiff as they transferred him from the aisle wheelchair to a
                 seat on the airplane, as a very cautious, competent, and prudent person
                 would not have done under the same or similar circumstances,

             I.   In allowing Plaintiff’s body to hit or make contact with the metal armrest of
                  a seat on the airplane as they transferred him from the aisle wheelchair to a
                  seat on the airplane, as a very cautious, competent, and prudent person
                  would not have done under the same or similar Circumstances, and / or

             I.   In failing to comply with the Air Carrier Access Act and Department of
                  Transportation, Title 14, Code of Federal Regulations, Part 382 —
                  Nondiscrimination On The Basis of Disability In Air Travel, when boarding
                  Plaintiff 0n the airplane and transferring him from the aisle wheelchair t0 a
                  seat on the airplane, as a very cautious, competent, and prudent person
                  would have done under the same or similar Circumstances.

These acts and/ or omissions by Defendants, taken either singularly or in combination,

one with other or others, constitute negligence, Which negligence was the sole proximate

cause, or a proximate cause of the incident described herein—above and of the injuries and


damages suffered by Plaintiff, as set out herein—below.

                      ALTERNATIVE CAUSE OF ACTION BASED ON
                      NEGLIGENCE PER SE AND PROXIMATE CAUSE
       12.   At the time that is material to the incident described herein-above, Defendants

failed to comply with the Air Carrier Access Act and Department 0f Transportation, Title


14, Code of Federal Regulations, Part 382 — Nondiscrimination       On The Basis of Disability
In Air Travel. In this regard, Defendants were negligent per se, and this negligence per

se was the sole proximate cause or a proximate cause of the incident described herein-


above and of the injuries and damages suffered by Plaintiff, as set out herein—below.
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                                          DAMAGES
        13. As a proximate cause 0f the negligence 0f Defendant in causing the incident


 described herein—above, Plaintiff suffered injuries, suffered physical pain and mental

 anguish in the past, will suffer physical pain and mental anguish in the future, suffered

physical impairment in the past, Will suffer physical impairment in the future, suffered

physical disfigurement in the past, will suffer physical disfigurement in the future,

incurred medical expenses in the past, and will incur medical expenses in the future.

Plaintiff is seeking monetary relief from Defendants in the amount of $10,000,000.00, as


compensation for his damages.

                      GROSS NEGLIGENCE-EXEMPLARY DAMAGES

       14.   At the time that is material t0 the incident described herein—above, Defendants

acted With gross negligence in causing the incident and Plaintiff’s resulting injuries and

damages described herein. Plaintiff therefore seeks exemplary damages from Defendants

as provided by Chapter 41 of the Texas Civil Practice and Remedies Code.


                             TOINT AND SEVERAL LIABILITY

       15. Plaintiff requests that Defendants be held jointly and severally liable t0 Plaintiff


for 0f all 0f Plaintiff’s damages alleged herein, including exemplary damages.


                                    VICARIOUS LIABILITY

       16. At the time that is material to the incident described herein-above, Defendant’s


employees, contractors, and agents, including ATSI as it pertains to Allegiant, acted

within the course, scope, and authority of their employment, contractual, and / 0r agency

relationships with Defendants. Defendants should therefore be held vicariously liable to


Plaintiff for all of Plaintiff’s damages alleged herein, including exemplary damages.


                   PREIUDGMENT AND POST-IUDGMENT INTEREST
      17.    Plaintiff further   sues Defendants herein for prejudgment interest at the
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maximum rate allowed by law on those damages where such interest may be assessed

and for post—judgment interest at the maximum rate allowed by law on all of Plaintiff’s

damages alleged herein, including exemplary damages, from the date of judgment until

the judgment is paid in full.


                           REQUEST FOR IURY AND TURY FEE

       18. Plaintiff requests that the above-styled and numbered cause be tried t0 a jury


and represents to the Court that the proper jury fee has been paid to the Clerk of this

Court With the filing of Plaintiff’s Original Petition.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon final hearing,

he have judgment against Defendants for all of his damages alleged herein, including

exemplary damages, for prejudgment and post-judgment interest, and for any and all

other relief, both general and special, in law and in equity, and for all costs of Court in

his behalf expended.




                                                  Respectfully Submitted,

                                                  THE CISNEROS LAW FIRM, L.L.P.
                                                  312 Lindberg McAllen, Texas 78501
                                                  Telephone No. (956) 682—1883
                                                  Fax No. (956) 682—0132
                                                  Email: email@cisneroslawfirm.com




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                                                  MICHAEIE J. C‘ISNEROS
                                                  State Bar N0. 00793509
                                                  ARTURO CISNEROS
                                                  State Bar No. 00789224
                                                  Attorneys for Plaintiff
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NOTICE: Pursuant to TRCP 126: Statement of Inability to Afford Payment
of Court Costs or an Appeal Bond ﬁled =   N0

                                                   C-l977-21-E
                         275TH DISTRICT COURT, HIDALGO COUNTY, TEXAS

                                                   CITATION
                                           THE STATE OF TEXAS

         NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If you or your
attorney do not ﬁle a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday
                                                                                                             next

following the expiration 0f twenty (20) days after you were served  with this citation and petition, a default

judgment may be taken against you. In addition to ﬁling a written answer with the clerk, you may be required to
make initial disclosures to the other panics 0f this suit. These disclosures generally must be made no later than
3O days after you ﬁle your answer with the clerk. Find out more at TexasLawHelp.org.

ALLEGIANT AIR LLC
REGISTERED AGENT, CORPORATION SERVICE COMPANY
D/B/A CSC-LAWYERS INCORPORATING SERVICE COMPANY
211 EAST 7T" ST., STE. 620
AUSTIN, TX 78701

You   are   hereby   commanded   to   appear by ﬁling a written answer      (0      the   PLAINTIFF'S ORIGINAL
PETITION on or before 10:00 o‘clock a.m. on the Monday next after the expiration of twenty (20) days after
the date of service hereof, before the Honorable Marla Cuellar, 275th District Court of Hidalgo County‘
Texas at the Courthouse at 100 North Closner, Edinburg, Texas 78539.

Said petition was ﬁled on this the 24th day of May, 2021 and a copy of same accompanies this citation. The
                                                                                                           ﬁle

number and style of said suit being    C-l977-21-E,  FILIBERTO     J    GARZA MORENO      VS.   ALLEGIANT
TRAVEL COMPANY, ALLEGIANT AIR LLC, AIRPORT TERMINAL SERVICES, INC.

Said Petition was ﬁled in said court by Attorney MICHAEL J. CISNEROS, 312 LINBERG. MCALLEN, TX
78501.


The nature of the demand is fully shown by a true and correct copy 0f the petition accompanying this citation
and made a part hereof.

The ofﬁcer executing this writ shall promptly serve the same according to requirements of law, and the
mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court                         211   Edinburg. Texas 0n this the 25th

day of May, 2021.

LAURA HINOJOSA, DISTRICT CLERK
100 N. CLOSNER, EDINBURG, TEXAS
HIDAyGO COUNTY, TEXAS

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                                               COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
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      must either be veriﬁed or be signed under the penalty of perjury.                                           A
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NOTICE: Pursuant to TRCP 126: Statement of Inability to Afford Payment
of Court Costs or an Appeal Bond filed =    NO
                                                         C-1977-21-E
                          27STH DISTRICT COURT, HIDALGO COUNTY, TEXAS

                                                         CITATION
                                             THE STATE OF TEXAS

           NOTICE T0 DEFENDANT: You have been sued. You may employ an attorney. If you or your
                                                                                      10:00 a.m. on the Monday next
attorney do not ﬁle a written answer with the clerk who issued this citation by
following the expiration of twenty (20) days   after  you   were served  with this citation and petition, a default

judgment may be taken against you. In addition     t0  ﬁling  a written answer  with  the clerk, you may be required to
                                                             These disclosures  generally  must  be made no later than
make initial disclosures to the other parties of this suit.
30 days after you ﬁle your answer with the clerk. Find out more at TexasLawHelp.org.

ALLEGIANT TRAVEL COMPANY
REGISTERED AGENT, CORPORATION SERVICE COMPANY
D/B/A CSC-LAWYERS INCORPORATING SERVICE COMPANY
211 EAST 7T" 511, STE. 620
AUSTIN, TX 78701

You   are    hereby   commanded    appear by ﬁling a written answer t0 the PLAINTIFF'S ORIGINAL
                                  to

PETITION on or before 10:00 o’clock a.m. on the Monday next after the expiration of twenty (20) days after
                                                                      District Court of Hidalgo County.
the date 0f service hereof, before the Honorable Marla Cuellar, 275th
Texas at the Counhouse at 100  Nonh   Closner, Edinburg. Texas 78539.


Said petition was ﬁled 0n this the 24th day of May, 2021 and a copy of same
                                                                                  accompanies this citation. The ﬁle
                                              GARZA MORENO VS. ALLEGIANT
number and style 0f said suit being C-1977-21-E, FILIBERTO J
TRAVEL COMPANY, ALLEGIANT AIR LLC, AIRPORT TERMINAL SERVICES, INC.

Said Petition was ﬁled
                          'm said court
                                          by Attorney MICHAEL J. CISNEROS, 312 LlNBERG, MCALLEN,
                                                                                                                           TX
78501.


The nature of the demand is fully shown by a true and correct copy of the petition accompanying
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and made a pan hereof.

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The ofﬁcer executing this writ shall promptly serve the same according to requirements
mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg, Texas on this the 25m
day of May. 2021.

LAURA HINOJOSA, DISTRICT CLERK /"§:’”“;\"                        ‘   u


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                             COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
                                    CONSTABLE OR CLERK OF THE COURT
1n accordance to Rule 107. the ofﬁcer 0r authorized person
                                                              who serves or attempts to serve a citation must sign
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the return. If the return is signed by a person other than a sheriff,
must either be veriﬁed or be signed under the penalty of perjury.                                      A return signed under penalty of perjury must
contain the statement below in substantially the following form:


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       Case 7:21-cv-00247              Document 1-2        Filed on 06/21/21 in TXSD             Page   15 of 17
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 NOTICE: Pursuant to TRCP 126: Statement of Inability to Afford Payment
 of Court Costs or an Appeal Bond ﬁled =    N0

                                                    C-1977-21-E
                          27STH DISTRICT COURT, HIDALGO COUNTY. TEXAS

                                                    CITATION
                                             THE STATE OF TEXAS
          NOTICE T0     DEFENDANT: You have been sued. You may employ an attorney. If you 0r your
 attorney do not ﬁle a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next
following the expiration of twenty (20) days after you were served with this citation and petition, a default
judgment may be taken against you. In addition to ﬁling a written answer with the clerk, yau may be required t0
 make initial disclosures to the other parties 0f this suit. These disclosures generally must be made no later than
 30 days after you ﬁle your answer with lhe clerk. Find out more at TexasLawHelp.org.

AIRPORT TERMINAL SERVICES INC.
REGISTERED AGENT, CT CORPORATION SYSTEM
 1999 BRYAN ST., STE. 900
DALLAS, TX 75201

You   arc   hereby   commanded    to   appear by ﬁling a written answer      to   the   PLAINTIFF'S ORIGINAL
PETITION on 0r before 10:00 o‘clock am. on the Monday next after the expiration 0f twenty (20) days after
the date 0f service hereof‘ before the Honorable Marla Cuellar, 275th District Court of Hidalgo County.
Texas at the Counhnuse at 100 North Clnsner. Edinburg. Texas 78539.


Said petition was ﬁled on this the 24th day ofMay. 2021 and a copy 0f same accompanies this citation. The ﬁle
number and style of said suit being CJ977—21-E, FILIBERTO J GARZA MORENO VS. ALLEGIANT
TRAVEL COMPANY, ALLEGIANT AIR LLC, AIRPORT TERMINAL SERVICES, INC.
Said Petition was ﬁled in said coun by Attorney MICHAEL J. CISNEROS. 3l2 LINBERG, MCALLEN, TX
7850!.


The nature of the demand is fully shown by a true and correct copy of the petition accompanying this citation
and made a part hereof.


The ofﬁcer executing this writ shall promptly serve the same according to requirements 0f law, and                   the
mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg, Texas on this the 25th
day of May, 2021.

LAURA HINOJOSA, DISTRICT CLERK
100 N. CLOSNER, EDINBURG, TEXAS
HID   l   G0 COUNTY. TEXAS
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               Case 7:21-cv-00247                     Document 1-2                 Filed on 06/21/21 in TXSD            Page   16 of 17
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                                             (petition) at the following times and places, to-wit:
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                                     COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
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In accordance to Rule 107, the ofﬁcer or authorized person who serves or attempts to serve a citation
                                                                                                                                  must sign
the return.           If the return is signed by a person other than a sheriff, constable or the clerk of the
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must either be veriﬁed or be signed under the penalty ofperjury.                             A return signed under penalty of perjury must
contain the statement below in substantially the following form:


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